862 F.2d 319
    Universal Financial, Burton (Wayne), Western SierraFinancial Corporation, California Equities HomeLoan, Baker (Robert A.)v.Kalinoski (Mary), Lewis (Joyce), Lintner (John,Joan),Lubetzky (Seymour), Nagy (Charles, Sarah), Orrizzi(Rosanne), Onate (Juan,Ruth), Sucov (Cynthia)
    NO. 85-6217
    United States Court of Appeals,
    Ninth Circuit.
    OCT 24, 1988
    
      1
      Appeal From:  C.D.Cal.
    
    
      2
      APPEAL DISMISSED.
    
    